               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                            ASHEVILLE DIVISION

CARYN DEVINS STRICKLAND,                 )
                                         )
                         Plaintiff,      )
                                         )
v.                                       )   Civil No. 1:20-cv-00066-WGY
                                         )
UNITED STATES, et al.,                   )
                                         )
                         Defendants.     )
                                         )

                                      ORDER


       This matter is before the Court on Counsel’s motion to withdraw. For good

cause shown, the motion is GRANTED.


       Counsel Jeannie Suk Gersen, Olivia Warren, Philip Andonian, and Jacob

Ezra Gersen are hereby ORDERED to withdraw as Counsel of record for the

Plaintiff, Caryn Devins Strickland.


     SO ORDERED, this the _____ day of ______________, 2023.


                   ________________________________________

                   United States District Court Judge William G. Young




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